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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


Norberto Medina-Rodriguez.

     Plaintiff                                                   CIVIL ACTION

v.

[1] Canovanillas Shopping Village, [2] China Hut,
[3] Francisco Rivera Deglans, [4] Sacoleira, [5]
Pizza Box, [6] Wonder Liz Beauty Supply

     Defendant(s)



                                          COMPLAINT
Plaintiff, Norberto Medina Rodriguez (hereinafter referred to as “Plaintiff”) hereby sues the

Defendants, corporations, partnerships, or sole proprietorships doing business as [1]

Canovanilllas Shopping Village, [2] China Hut [3] Francisco Rivera Deglans [4] Sacoleira, [5]

Pizza Box, and [6] Wonder Liz Beauty Supply for Injunctive Relief, and attorney’s fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”).

                                JURISDICTION AND VENUE


1.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

        jurisdiction over actions which arise from the Defendant’s violations of Title III of the

        Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201

        and § 2202.




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2.   Venue is properly located in the District of Puerto Rico because venue lies in the judicial

     district of the property situs. The Defendant’s property is located in and does business

     within this judicial district.

                                               PARTIES

3.   Plaintiff is a Puerto Rico resident, lives in Carolina, Puerto Rico, is sui juris, and qualifies

     as an individual with disabilities as defined by the ADA. Plaintiff is severely limited or

     unable to engage in the major life activity of sitting, standing, and walking. At the time of

     Plaintiff’s visit or around June 11, 2016 to Defendant’s facility and prior to instituting

     this action, Plaintiff suffered from a “qualified disability” under the ADA, a permanent

     walking abnormality, that is, abnormal, uncontrollable walking patterns as a result of a

     leg injury and bone damage. The Puerto Rico Department of Motor Vehicles issued a

     permanent handicap permit (No. 2015982 – parking spaces) to the Plaintiff. The Plaintiff

     personally visited the Defendant’s facility but was denied full and equal access and full

     and equal enjoyment of the facilities, services, goods, and amenities within Defendant’s

     facility, even though he would be classified as a “bona fide patron”. During this visit,

     Plaintiff experienced unnecessary difficulty and risk because no purportedly accessible

     parking space was designated as “accessible” and “van accessible.” As a result, while he

     visited the property, he refused to enter because no purportedly accessible parking space

     was designated as “accessible” or “van accessible.” Based upon an investigation

     performed on Plaintiff’s behalf, Plaintiff has become aware of additional architectural

     barriers at Defendant’s facilities. These additional barriers, which were not directly

     encountered by Plaintiff but which Plaintiff has knowledge of as a result of the

     investigation conducted in connection with this case, as detailed in paragraph No. 16 of



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     the complaint. Plaintiff affirmatively claims knowledge of the barriers in question, as

     required by Disabled Americans for Equal Access, Inc., v. Ferries del Caribe, Inc., 405

     F.3d 60 (1st Cir. 2005) and provides evidentiary proof in the form of pictures in the

     following paragraphs. Plaintiff has established standing regarding at least one barrier,

     handicapped parking spaces and thus, he “may, in one suit, permissibly challenge all

     barriers in that public accommodation that are related to his or her specific disability.”

     Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1047 (9th Cir. 2008). Plaintiff “need not

     necessarily have personally encountered all the barriers that bar his access to the [store]

     in order to seek an injunction to remove those barriers.” Pickern v. Holiday Quality

     Foods, Inc., 293 F.3d 1133, 1138 (9th Cir. 2002). Once a plaintiff encounters at least one

     barrier, he has standing to have all barriers related to his disability removed. Chapman v.

     Pier 1 Imports (U.S.), Inc., 631 F.3d 939, 944 (9th Cir. 2011). Allowing all barriers

     relating to an ADA plaintiff’s disability to be brought forth in one action “facilitates

     ADA compliance by eliminating the piecemeal litigation. . . ” Chapman, 631 F.3d. at

     953.

4.   Plaintiff will avail himself of the services offered at the facility in the future, provided

     that the Defendant modify the Premises or modify its’ policies and practices to

     accommodate individuals who use wheelchairs or individuals with limited mobility.

     Plaintiff, a resident of Carolina for decades, frequently travels to the area wherein

     Defendant operates the subject facility to conduct various activities, including, but not

     limited to shopping for goods and services on a safe, full, equal and spontaneous basis.

     Plaintiff plans to avail himself of the goods and services offered to the public at the




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     property return as soon as the defendant gives notice that the Subject Property is in full

     ADA compliance and in any case, on or before January 15, 2017.

5.   Completely independent of the personal desire to have access to this place of public

     accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

     purpose of discovering, encountering, and engaging discrimination against the disabled in

     public accommodations. When acting as a “tester,” Plaintiff employs a routine practice.

     Plaintiff personally visits the public accommodation; engages all of the barriers to access,

     or at least all of those that Plaintiff is able to access; and tests all of those barriers to

     access to determine whether and the extent to which they are illegal barriers to access;

     proceeds with legal action to enjoin such discrimination; and subsequently returns to the

     premises to verify its compliance or non-compliance with the ADA and to otherwise use

     the public accommodation as members of the able-bodied community are able to do.

     Independent of other subsequent visits, Plaintiff also intends to visit the premises

     annually to verify its compliance or non-compliance with the ADA, and its maintenance

     of the accessible features of the premises. In this instance, Plaintiff, in Plaintiff’s

     individual capacity and as a “tester,” visited the Facility, encountered barriers to access at

     the Facility, and engaged and tested those barriers, suffered legal harm and legal injury,

     and will continue to suffer such harm and injury as a result of the illegal barriers to access

     and the ADA violations set forth herein. It is the Plaintiff’s belief that said violations will

     not be corrected without court intervention, and thus the Plaintiff will suffer legal harm

     and injury in the near future.

6.   Defendant owns, leases, leases to, or operates a place of public accommodation as

     defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and



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    36.104. The place of public accommodation that each Defendant owns, operates, leases

    or leases to is known as [1] Canovanilllas Shopping Village, [2] China Hut [3]

    Francisco Rivera Deglans [4] Sacoleira [5] Pizza Box, and [6] Wonder Liz Beauty

    Supply (hereinafter “Subject Facility”). Defendant also maintains and controls the

    Subject Facility:




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         VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

7.   Plaintiff adopts and re-alleges the allegations stated in paragraph “1” through “6”of this

     complaint as if fully stated herein.


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8.   On July 26, 1990, Congress enacted the Americans With Disabilities Act ("ADA"), 42

     U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from

     enactment of the statute to implement its requirements. The effective date of Title III of

     the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or

     fewer employees and gross receipts of $500,000 or less. See 42 U.S.C. §12182; 28 C.F.R.

     §36.508(a).

9.   Congress found, among other things, that:

        a. some 43,000,000 Americans have one or more physical or mental disabilities, and

            this number shall increase as the population continues to grow older;

        b. historically, society has tended to isolate and segregate individuals with

            disabilities and, despite some improvements, such forms of discrimination against

            disabled individuals continue to be a pervasive social problem, requiring serious

            attention;

        c. discrimination against disabled individuals persists in such critical areas as

            employment, housing, public accommodations, transportation, communication,

            recreation, institutionalization, health services, voting and access to public

            services and public facilities;

        d. individuals with disabilities continually suffer forms of discrimination, including

            outright intentional exclusion, the discriminatory effects of architectural,

            transportation, and communication barriers, failure to make modifications to

            existing facilities and practices, exclusionary qualification standards and criteria,

            segregation, and regulation to lesser services, programs, benefits, or other

            opportunities; and



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         e. the continuing existence of unfair and unnecessary discrimination and prejudice

             denies people with disabilities the opportunity to compete on an equal basis and to

             pursue those opportunities for which our country is justifiably famous, and costs

             the United States billions of dollars in unnecessary expenses resulting from

             dependency and non- productivity.

      42 U.S.C. §12101(a)(1)-(3), (5) and (9).

10.   Congress explicitly stated that the purpose of the ADA was to:

         a. provide a clear and comprehensive national mandate for the elimination of

             discrimination against individuals with disabilities;

         b. provide, clear, strong, consistent, enforceable standards addressing discrimination

             against individuals with disabilities; and,

         c. invoke the sweep of congressional authority, including the power to enforce the

             fourteenth amendment and to regulate commerce, in order to address the major

             areas of discrimination faced on a daily by people with disabilities.

      U.S.C. §12101(b)(1)(2) and (4).

11.   Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

      Defendant’s facility is a place of public accommodation covered by the ADA by the fact

      it is an establishment which provides services to the general public, and must be in

      compliance therewith. The building and/or Subject Facility which is a subject of this

      action is a public accommodation covered by the ADA and which must be in compliance

      therewith. As the owner, lessor, lessee, or operator of the Subject Facility, Defendant is

      required to comply with the ADA. To the extent the property, or portions thereof, existed

      prior to January 26, 1993 ("pre-existing facility"), the owner, lessor, lessee, or operator



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      has been under a continuing obligation to remove architectural barriers at that property

      whose removal was readily achievable, as required by 42 U.S.C. Section 12182. To the

      extent that the property, or portions thereof, were constructed after January 26, 1993

      ("newly constructed facility"), the owner, lessor, lessee, or operator was under an

      obligation to design and construct such facilities such that they are readily accessible to

      and usable by individuals with disabilities, as required by 42 U.S.C. Section 12183. To

      the extent that the facility, or portions thereof, were altered in a manner that affects or

      could affect its usability ("altered facility"), the owner, lessor, lessee, or operator was

      under an obligation to make such alterations in such a manner that, to the maximum

      extent feasible, the altered portions are readily accessible to and usable by persons with

      disabilities. Pursuant to 28 C.F.R. part 36.404, all newly constructed facilities were

      required to comply with the Standards For New Construction And Alterations, set forth in

      Appendix A to 28 C.F.R. part 36 ("ADAAG"). Pursuant to 28 C.F.R. part 36.404, all

      altered facilities were required to comply with the ADAAG to the maximum extent

      feasible. Pursuant to 28 C.F.R. part 36.304, all measures taken to comply with barrier

      removal requirements of 42 U.S.C. Section 12182 must also comply with the ADAAG to

      the maximum extent feasible. Failure to comply with these requirements constitutes a

      violation of the ADA.

12.   The Defendant has discriminated and continues to discriminate against the Plaintiff and

      others who are similarly situated, by denying access to, and full and equal enjoyment of

      goods, services, facilities, privileges, advantages and/or accommodations located at the

      Subject Facility as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and

      by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



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13.   As described in paragraph 3, Plaintiff has visited the Subject Facility, and has been

      denied full and safe equal access to the facilities and therefore suffered an injury in fact.

14.   Plaintiff intends to return to the subject facility as soon as the defendant or defendant’s

      counsel give notice to the Court and/or Plaintiff or Plaintiff’s counsel that the property is

      now is full compliance with the Americans with Disabilities Act. Plaintiff will thus return

      as soon as possible provided the defendants modifies the facility to enjoy the goods

      and/or services at the Subject Facility on a spontaneous, full and equal basis. However,

      Plaintiff is precluded from doing so by the Defendant’s failure and refusal to provide

      disabled persons with full and equal access to their facilities. Therefore Plaintiff

      continues to suffer from discrimination and injury due to the architectural barriers which

      are in violation of the ADA.

15.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

      Justice, Office of the Attorney General promulgated Federal Regulations to implement

      the requirements of the ADA See 28 CFR §36 and its successor the 2010 ADA Standards

      ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36,

      under which said Department may obtain civil penalties of up to $55,000 for the first

      violation and $110,000 for any subsequent violation. The Plaintiff reserves his right to

      file a formal complaint with the U.S. Department of Justice.

16.   The Defendant is in violation of 42 U.S.C. §12182 et. seq. and the 2010 American

      Disabilities Act Standards et. seq., and is discriminating against the Plaintiff as a result of

      inter alia, the following specific violations:

            SITE ARRIVAL POINTS




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       a)   Canovanillas Shopping Village to comply with section; 206.2.1 Site Arrival

            Points. At least one accessible route shall be provided within the site from

            accessible parking spaces and accessible passenger loading zones; public

            streets and sidewalks; and public transportation stops to the accessible

            building or facility entrance they serve. This violation made it dangerous for

            Plaintiff to get to the entrance of the facility. Plaintiff had a hard time getting

            out of his vehicle and finding an area that would allow him to exit his vehicle

            safely. Plaintiff was able to get out of his vehicle only after much struggle,

            and felt very unsafe since there was no access aisle at the facility. Plaintiff

            had to maneuver throughout the outside facility into traffic coming to park at

            the Defendant’s Facility. Plaintiff felt there was no protection from moving

            cars.

       b)   Canovanillas Shopping Village fails to comply with section; 206.2.2 Within a

            Site. At least one accessible route shall connect accessible buildings,

            accessible facilities, accessible elements, and accessible spaces that are on the

            same site. This violation made it dangerous for Plaintiff to transgress the

            parking lot. Plaintiff did not have an aisle with which to safely exit his

            vehicle. Therefore, Plaintiff had a hard time getting out of his vehicle and

            finding an area that would allow him to exit his vehicle safely. Plaintiff was

            able to get out of his vehicle only after much struggle, and felt very unsafe

            since there was no access aisle at the facility. Plaintiff had to maneuver

            throughout the outside facility into traffic coming to park at the Defendant’s

            Facility. Plaintiff observed there was no protection from moving cars.



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       c)   Canovanillas Shopping Village fails to comply with section; 502.2 Vehicle

            Spaces. Each parking space must be at least 12 feet (3658 mm) wide, shall be

            marked to define the width, and shall have an adjacent access aisle complying

            with 502. This violation made it dangerous for Plaintiff to transgress the

            parking lot. Plaintiff did not have an aisle with which to safely exit his

            vehicle. Therefore, Plaintiff had a hard time getting out of his vehicle and

            finding an area that would allow him to exit his vehicle safely. Plaintiff was

            able to get out of his vehicle only after much struggle, and felt very unsafe

            since there was no access aisle at the facility. Plaintiff had to maneuver

            throughout the outside facility into traffic coming to park at the Defendant’s

            Facility. Plaintiff observed there was no protection from moving cars.

       d)   Canovanillas Shopping Village fails to comply with section; 502.3 Access

            Aisle. Access aisles serving parking spaces shall comply with 502.3. Access

            aisles shall adjoin an accessible route. Two parking spaces shall be permitted

            to share a common access aisle. This violation made it dangerous for Plaintiff

            to transgress the parking lot. Plaintiff did not have an aisle with which to

            safely exit his vehicle. Therefore, Plaintiff had a hard time getting out of his

            vehicle and finding an area that would allow him to exit his vehicle safely.

            Plaintiff was able to get out of his vehicle only after much struggle, and felt

            very unsafe since there was no access aisle at the facility. Plaintiff had to

            maneuver throughout the outside facility into traffic coming to park at the

            Defendant’s Facility. Plaintiff observed there was no protection from moving

            cars.



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       e)   Canovanillas Shopping Village to comply with section; 502.4 Floor or

            Ground Surfaces. Parking spaces and access aisles serving them shall comply

            with 302. Access aisles shall be at the same level as the parking spaces they

            serve. Changes in level are not permitted. This violation made it dangerous

            for Plaintiff to transgress the parking lot.

       ENTRANCE – CHINA HUT

       f)   The Facility and/or Property (China Hut) lack an accessible main entrance.

            Signs should be installed before inaccessible entrances so that people do not

            have to retrace the approach; and the need of assistance should be el

            eliminate as much as possible. This store is within five minutes from

            Plaintiff’s home and the Plaintiff is interested in buying food at a Chinese

            restaurant near his home.      Plaintiff intent to return to the China Hut to

            verbally and face-to-face demand ADA compliance to Defendant’s

            employees and owners.

       ENTRANCE – SACOLEIRA

       g)   The Facility and/or Property (Sacoleira) lack an accessible main entrance.

            Signs should be installed before inaccessible entrances so that people do not

            have to retrace the approach; and the need of assistance should be el

            eliminate as much as possible. This store is within five minutes from

            Plaintiff’s home and the Plaintiff is interested in employment and/or

            independent contractor opportunities at Sacoleira for his family. Plaintiff

            intent to return to the Sacoleira to verbally and face-to-face demand ADA

            compliance to Defendant’s employees and owners.



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       ENTRANCE – FRANCISCO RIVERA DEGLANS

       h)   The Facility and/or Property (Francisco Rivera Deglans) lack an accessible

            main entrance. Signs should be installed before inaccessible entrances so that

            people do not have to retrace the approach; and the need of assistance should

            be el eliminate as much as possible. This store is within five minutes from

            Plaintiff’s home and the Plaintiff is interested in learning about the costs of

            accounting services near his home. Plaintiff intent to return to the Francisco

            Rivera Deglans to verbally and face-to-face demand ADA compliance to

            Defendant’s employees and owners.

       ENTRANCE – PIZZA BOX

       i)   The Facility and/or Property (Pizza Box) lack an accessible main entrance.

            Signs should be installed before inaccessible entrances so that people do not

            have to retrace the approach; and the need of assistance should be el

            eliminate as much as possible. This store is within five minutes from

            Plaintiff’s home and the Plaintiff is interested in buying pizza for himself and

            his family. Plaintiff intent to return to the Pizza Box to verbally and face-to-

            face demand ADA compliance to Defendant’s employees and owners.

       ENTRANCE – WONDER LIZ BEAUTY SUPPLY

       j)   The Facility and/or Property (Wonder Liz Beauty Supply) lack an accessible

            main entrance. Signs should be installed before inaccessible entrances so that

            people do not have to retrace the approach; and the need of assistance should

            be el eliminate as much as possible. This store is within five minutes from

            Plaintiff’s home and the Plaintiff is interested in buying beauty supplies for



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                  himself and his family. Plaintiff intent to return to the Wonder Liz Beauty

                  Supply to verbally and face-to-face demand ADA compliance to Defendant’s

                  employees and owners.

17.   Upon information and belief, there are contractual agreements that allocate ADA liability

      between the defendants. However, regardless of any cross-claims between the

      defendants, all defendants are liable to the Plaintiff for their non-compliance.

18.   To the best of Plaintiff’s belief and knowledge, the Defendant has failed to eliminate the

      specific violations set forth in paragraph 16. Plaintiff has attempted to gain access to the

      Facility and/or Property in his capacity as a customer, but because of his disability has

      been denied access to, and has been denied the benefits of services, programs, and

      activities of the Facility and/or Property, and has otherwise been discriminated against

      and damaged by Defendants, because of the physical barriers, dangerous conditions and

      ADA violations set forth above, and expect to be discriminated against in the near future

      by Defendants because of Plaintiff’s disabilities, unless and until Defendants are

      compelled to remove unlawful barriers and conditions and comply with the ADA.

19.   All of the above violations are readily achievable to modify in order to bring the

      Facility/Property into compliance with the ADA as the modifications can be easily

      accomplished and are able to be carried out without much difficulty or expense. 42

      U.S.C.12182 (b)(2)(A)(iv); 42 U.S.C. 12181(9); 28 C.F.R. 36.304.

20.   Upon information and belief the Defendant has the financial resources to make the

      necessary modifications.

21.   Upon information and belief the Property has been altered since 2010.




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22.   In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG

      standard applies and all of the violations listed in paragraph 16 can be applied to the 1991

      ADAAG standards.

23.   As a resident of Caroline for decades, Plaintiff is a frequent visitor of the area where

      Defendant’s property is located. As alleged in paragraph 3, Plaintiff visited the property

      that forms the basis of this lawsuit and at that time and place, encountered discriminatory

      violations.

24.   As an individual with limited mobility, Plaintiff has a keen interest in whether public

      accommodations have architectural barriers that impede full accessibility to those

      accommodations by individuals with mobility impairments.

25.   Plaintiff plans to return to the property to avail himself of the goods and services offered

      to the public at the property and to determine whether the property has been made ADA

      compliant. As detailed in paragraph 16, Plaintiff has encountered barriers at the subject

      property which discriminate against him on the basis of his disability. In the alternative,

      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a "tester"

      for the purpose of asserting his civil rights and monitoring, ensuring, and determining

      whether places of public accommodation are in compliance with the ADA.

26.   Plaintiff should not be discouraged from pointing out public accommodations that are

      breaking the law. From 1991 to 2015, 25 years, there was no meaningful enforcement of

      the Title II/III of the ADA in Puerto Rico, and the results are obvious: architectural

      barriers everywhere. Tester standing is imperative to ensure that the rights guaranteed by

      the ADA do not become meaningless abstractions. Many people are reluctant to bring

      lawsuits against businesses for violations of the ADA or are unaware of what constitutes



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    a violation under a very cumbersome and technically detailed statute. Other victims of

    ADA violations may not have the incentive or the resources to bring ADA lawsuits. Thus

    testers, as private attorneys general, serve a vital role in redressing the injuries suffered

    due to violations of Title III of the ADA. Overall, denying relief to individuals who prove

    they were victims of discrimination, even as testers, weakens and undercuts

    congressional intent to deter and remedy discrimination through utilization of private

    individuals to enforce the statute. In fact, the Supreme Court supported the idea of private

    attorneys general in the employment context, stating: "We have rejected the unclean

    hands defense `where a private suit serves important public purposes.' Plaintiff plan to

    return to the property as a "tester" for the purpose of asserting his civil rights and

    monitoring, ensuring, and determining whether places of public accommodation are in

    compliance with the ADA. As civil right activist, Plaintiff intent to return to the Subject

    Facility to verbally and face-to-face demand ADA compliance to Defendant’s manager’s

    within six months. Plaintiff's "undisputed tester motive behind his plan to return does not

    defeat standing." Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013);

    See also Colorado Cross Disability Coal v. Abercrombie & Fitch Co., 765 F.3d 1205,

    1211 (10th Cir. 2014); Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1332 (11th

    Cir. 2013); D'Lil v. Best W. Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir.

    2008); see also Steelman v. City of Salem, No. 4:12-CV-00191, 2013 WL 1363792, at 4

    (E.D. Mo. Apr. 4, 2013); Betancourt v. 2 Combs Enterprises, Inc., No. 10-3364-CV-S-

    MJW, 2011 WL 846849, at *3 (W.D. Mo. Mar. 8, 2011). As the Eighth Circuit and other

    appellate courts have recognized, private litigation serves as an important means to

    enforce the public policy behind civil rights statutes such as the ADA and serial litigants



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      serve a valuable purpose as private attorneys generals ensuring that the ADA yields its

      promises of equal access to disabled persons. See Shaver v. Indep. Stave Co., 350 F.3d

      716, 724-25 (8th Cir. 2003) (citing Kyles v. J.K. Guardian Sec. Servs., Inc., 222 F.3d

      289, 299 (7th Cir. 2000); see also Molski v. Evergreen Dynasty Corp., 500 F.3d 1047,

      1062 (9th Cir. 2007); Bruce v. City of Gainesville, Ga., 177 F.3d 949, 952 (11th Cir.

      1999).

27.   The violations present at Defendant's facility create a hazard to Plaintiff's safety.

28.   Plaintiff is continuously aware of the violations at Defendant's facility and is aware that it

      would be a futile gesture to return to the property as long as those violations exist unless

      he is willing to suffer additional discrimination.

29.   The remedial provision of Title III states that “[n]othing in this section shall require a

      person with a disability to engage in a futile gesture if such person has actual notice that a

      person or organization covered by this subchapter does not intend to comply with its

      provisions.” 42 U.S.C. § 12188(a)(1). In the legislative history of the ADA, Congress

      noted that the “futile gesture” doctrine was set forth in the case of International Bhd. of

      Teamsters v. United States, 431 U.S. 324 (1977). See H.R. Rep. 101-485(II), 101st

      Cong., 2d Sess. at 82-83, reprinted in 1990 U.S.C.C.A.N. 303, 365. ADA – like the

      Equal Protection Clause, Title VII and the Fair Housing Act – prohibits a certain type of

      discrimination. And as is the case with the Equal Protection Clause, Title VII and the Fair

      Housing Act, injury under the ADA consists of the discrimination -- in and of itself --

      that deprives the plaintiff of the opportunity to obtain a benefit rather than the lack of the

      benefit itself. Thus, to impose liability under Title III, the barrier does not need to

      completely preclude plaintiff from entering or using the facility; it need only interfere



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      with the plaintiff's full and equal enjoyment of the facility. See Moeller v. Taco Bell

      Corp., 816 F.Supp.2d 831, 848 (N.D.Cal.2011) (citing 1183*1183 Doran v. 7-Eleven

      Inc., 524 F.3d 1034, 1041 n. 4 (9th Cir.2008) (discussing that the ADA "does not limit its

      antidiscrimination mandate to barriers that completely prohibit access.")). "Because the

      ADAAG establishes the technical standards required for `full and equal enjoyment,' if a

      barrier violating the ADAAG relates to a plaintiff's disability, it will impair the plaintiff's

      full and equal access, which constitutes `discrimination' under the ADA, thereby

      violating the ADA." Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 947 (9th

      Cir.2011). Here, the odds of the injury occurring again are certain where the building is

      not in compliance with the ADA and the Plaintiff Norberto Medina Rodriguez and every

      other person with the same disability is going to confront the same barrier on every future

      visit. Second, the Plaintiff Norberto Medina Rodriguez have an actual and present injury

      i.e. being deterred from visiting the building because he is at-all-times aware of the

      barriers at the Subject Facility. Third, Plaintiff Norberto Medina Rodriguez is deterred

      from patronizing the Store/Subject Facility and suffer the ongoing actual injury of not

      being able to access that Store/Subject Facility. Finally, the risk of injury in fact is not

      speculative because the discriminatory barriers or policies remain in place, the Plaintiff

      remain disabled, and the Plaintiffs are able and ready to visit the facility once it is made

      ADA compliant.

30.   A number of courts have rejected the "intent to return" or "likely to return" theory as the

      only way to demonstrate standing for injunctive relief on the grounds that "the odds of

      the injury recurring are certain where a building is not in compliance with the ADA" and

      any person "with the same disability" will face the same barrier on any visit. Instead,



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    some courts, including the First Circuit, apply the "deterrent effect doctrine," which

    holds that an individual suffers an injury-in-fact sufficient to confer standing if he is

    deterred from visiting a public accommodation because it is not in compliance with the

    law; plaintiffs need not engage in the "futile gesture" of returning to a building with

    known barriers that the owner does not intend to remedy. As you know, the deterrence

    effect theory is grounded in language of the ADA stating that a plaintiff does not have to

    "engage in a futile gesture if such person has actual notice that a person or organization

    does not intend to comply" with the statute. Hunter II, 2013 WL 4052411, at *3, quoting

    42 U.S.C. § 12188(a)(1). See, e.g., Chapman v. Pier 1 Imports (U.S.), Inc., 631 F.3d 939,

    949-50 (9th Cir. 2011)("Demonstrating an intent to return to a noncompliant

    accommodation is but one way for an injured plaintiff to establish Article III standing to

    pursue injunctive relief. A disabled individual also suffers a cognizable injury if he is

    deterred from visiting a noncompliant public accommodation because he has encountered

    barriers related to his disability there."); Disabled Ams. for Equal Access, Inc. v.

    Ferries Del Caribe, Inc., 405 F.3d 60, 64 (1st Cir.2005) ("`[A] disabled individual who

    is currently deterred from patronizing a public accommodation due to a defendant's

    failure to comply with the ADA' and `who is threatened with harm in the future because

    of existing or imminently threatened noncompliance with the ADA' suffers actual or

    imminent harm sufficient to confer standing."); Steger v. Franco, 228 F.3d 889, 892 (8th

    Cir.2000) ("Although plaintiffs need not engage in the `futile gesture' of visiting a

    building containing known barriers that the owner has no intention of remedying... they

    must at least prove knowledge of the barriers and that they would visit the building in the

    imminent future but for those barriers."); Hunter II,2013 WL 4052411, at *3 ("The



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    second recognized way to establish injury-in-fact is for the 584*584 plaintiff to show that

    he is continually injured by being deterred from making use of the allegedly

    noncompliant public accommodation.... `[A] plaintiff who is deterred from patronizing a

    store suffers the ongoing actual injury of lack of access to the store.'"); Betancourt v.

    Federated Dep't Stores, 732 F.Supp.2d 693, 709 (W.D.Tex.2010) ("[T]he Supreme Court

    recognized deterrence as an injury in fact sufficient to confer standing for prospective

    relief in Friends of the Earth, Inc. v. Laidlaw Envt'l Services, 528 U.S. 167, 120 S.Ct.

    693, 145 L.Ed.2d 610 (2000)"; "[T]he risk of injury in fact is not speculative so long as

    the alleged discriminatory barriers remain in place, the plaintiff remains disabled, and the

    plaintiff is `able and ready' to visit the facility once it is made compliant. If the disabled

    plaintiff returns to the location, the same discrimination will occur until the facility is

    made compliant."). See also Fiedler v. Ocean Props., Ltd., 683 F.Supp.2d 57, 69

    (D.Me.2010); Scherr v. Marriot Intern., Inc., 833 F.Supp.2d 945, 952-53 (N.D.Ill.2011)

    (Noting that the "`deterrent effect doctrine'-supported by the reasoning of the

    Ninth, Eighth and First Circuits is gaining support" and applying it) (citing

    Betancourt). In Kramer v. Lakehills South, LP, No. A-13-CA-591 LY, 2014 WL 51153,

    at *4 (W.D.Tex. Jan. 7, 2014), the district court applied the deterrent effect doctrine and

    observed: “[t] he Fifth Circuit appears to have endorsed this theory in Frame v. City of

    Arlington, 657 F.3d 215, 236 (5th Cir., 2011) (a Title II ADA case),cert. denied, ___ U.S.

    ___, 132 S.Ct. 1561, 182 L.Ed.2d 168 (2012),when it stated that "a disabled individual

    need not engage in futile gestures before seeking an injunction; the individual must show

    only that [the inaccessible object or place] affects his activities in some concrete way.".




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31.   The violations present at Defendant's facility infringe Plaintiff's right to travel free of

      discrimination. Plaintiff has suffered, and continues to suffer, frustration and humiliation

      as the result of the discriminatory conditions present at Defendant's facility. By

      continuing to operate a place of public accommodation with discriminatory conditions,

      Defendant contributes to Plaintiff's sense of isolation and segregation and deprives

      Plaintiff the full and equal enjoyment of the goods, services, facilities, privileges and/or

      accommodations available to the general public. By encountering the discriminatory

      conditions at Defendant's facility, and knowing that it would be a futile gesture to return

      unless he is willing to endure additional discrimination, Plaintiff is deprived of the

      meaningful choice of freely visiting the same accommodations readily available to the

      general public and is deterred and discouraged from additional travel. By maintaining a

      public accommodation with violations, Defendant deprives plaintiff the equality of

      opportunity offered to the general public.

32.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of

      the Defendant’s discrimination until the Defendant is compelled to comply with the

      requirements of the ADA.

33.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations in paragraph 16 of this Complaint. Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by the Defendant. Plaintiff desires to visit the subject facility not

      only to avail himself of the goods and services available at the property but to assure




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      himself that this property is in compliance with the ADA so that he and others similarly

      situated will have full and equal enjoyment of the property without fear of discrimination.

34.   The Defendant has discriminated against the Plaintiff by denying him access to, and full

      and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

      accommodations of the subject property, as prohibited by 42 U.S.C. § 12182 et seq.

35.   The discriminatory violations described in paragraph 16 are not an exclusive list of the

      Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

      public accommodation in order to photograph and measure all of the discriminatory acts

      violating the ADA and all of the barriers to access. The Plaintiff, and all other individuals

      similarly situated, have been denied access to, and have been denied the benefits of

      services, programs and activities of the Defendant’s buildings and its facilities, and have

      otherwise been discriminated against and damaged by the Defendant because of the

      Defendant’s ADA violations, as set forth above. The Plaintiff and all others similarly

      situated will continue to suffer such discrimination, injury and damage without the

      immediate relief provided by the ADA as requested herein. In order to remedy this

      discriminatory situation, the Plaintiff requires an inspection of the Defendant’s place of

      public accommodation in order to determine all of the areas of non-compliance with the

      Americans with Disabilities Act.

36.   Defendant has discriminated against the Plaintiff by denying him access to full and equal

      enjoyment     of   the   goods,    services,    facilities,   privileges,   advantages   and/or

      accommodations of its place of public accommodation or commercial facility in violation

      of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

      continues to discriminate against the Plaintiff, and all those similarly situated by failing to



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         make reasonable modifications in policies, practices or procedures, when such

         modifications are necessary to afford all offered goods, services, facilities, privileges,

         advantages or accommodations to individuals with disabilities; and by failing to take such

         efforts that may be necessary to ensure that no individual with a disability is excluded,

         denied services, segregated or otherwise treated differently than other individuals because

         of the absence of auxiliary aids and services.

37.      Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

         retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

         litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

         36.505.

38.      Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

         Injunctive Relief, including an order to require the Defendant to alter the subject facility

         to make those facilities readily accessible and useable to the Plaintiff and all other

         persons with disabilities as defined by the ADA; or by closing the facility until such time

         as the Defendant cures its violations of the ADA.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for:


      A. A declaratory judgment that Defendant is in violation of the specific requirements of

         Title III of the ADA described above, and the relevant implementing regulations of the

         ADA, in that Defendant’s facilities, as described above, are not fully accessible to, and

         independently usable by, individuals who use wheelchairs or limited mobility;

      B. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504 (a)

         which directs Defendant to take all steps necessary to remove the architectural barriers


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       described above and to bring its facilities into full compliance with the requirements set

       forth in the ADA, and its implementing regulations, so that its facilities are fully

       accessible to, and independently usable by, individuals who use wheelchairs or

       individuals with limited mobility, and which further directs that the Court shall retain

       jurisdiction for a period to be determined after Defendant’s facilities come into

       compliance with the relevant requirements of the ADA to ensure that Defendant has

       adopted and is following an institutional policy that will in fact cause Defendant to

       remain fully in compliance with the law;

    C. Payment of costs of suit;

    D. Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

       36.505; and,

    E. The provision of whatever other relief the Court deems just, equitable and appropriate.


                                     RESPECTFULLY SUBMITTED,


                                     /S/JOSE CARLOS VELEZ-COLÓN, ESQ.
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